Case 3:23-cv-03007-VC   Document 84-12   Filed 09/16/24   Page 1 of 5




            EXHIBIT 10
                 Case 3:23-cv-03007-VC            Document 84-12           Filed 09/16/24       Page 2 of 5




To:                                               Eve rhart[neverhart©twitter.com];
          Brian Bjelde[bbjelde@twitter.com]; Nate Everhart[neverhart@twitter.com];
nate.everhartQspacex.com[nateeverhart@spacex.com]
nate.everhart@spacex.com[nate.everhart@spacex.com]
Cc:                      (Snodgrass)[kmarcottetwitter.com]; Mark
          Katie Marcotte (Snodgrass)[kmarcotte@twitter.com];   Mark Schobinger[mschobinger@twitter.com]
                                                                     Schobinger[mschobingertwitter.com]
From:           Schobinger[mschobingertwitter.com]
          Mark Schobinger[mschobinger@twitter.com]
Sent:           12/1/2022 5:20:46 PM (UTC)
          Thur 12/1/2022
Subject: FY22 PBP follow up
FY22 PBP Update from September 15, 15, 2022 Comp Cmte Meetinb.pdf
                                                         Meetinci.pdf


Brian, Nate:
I'm following upup separately
                   separately on
                               on the
                                  the action
                                       action item
                                              item IItook
                                                     took concerning
                                                           concerning the
                                                                       the FY22
                                                                           FY22 PBP
                                                                                  PBP (bonus)
                                                                                       (bonus) conversation
                                                                                                 conversation we we
briefly discussed at yesterday's meeting. I've attached aafew slides that we shared with the comp crate    cmte at
                                                                                                                 at one
                                                                                                                    one of
                                                                                                                        of
the last meetings we had with them in September 2022 that give you context on where we were at that point in            in
          actuals to-date,
terms of actuals  to-date, and
                            and the
                                the underlying
                                     underlying payout
                                                 payout curves.
                                                         curves.
The FY22 PBP is Twitter's annual bonus plan, and represents
                                                         represents compensation opportunities for hitting short-
term goals. In this case, short-term goals are the 2022 calendar year financial metrics related to revenue and
                                                                                                   50% regardless of
profitability. The plan itself has aa"safe harbor" built into that essentially funds the pool at 50%
performance. To be blunt, we could severely underperform and the plan would still fund aaminimum of 50%            50%
of the pool. Finance is still accruing for the plan.
We need clarity from Elon regarding the disposition of the FY22  FY22 plan
                                                                       plan - if
                                                                              if he
                                                                                 he intends
                                                                                 -  intends to
                                                                                             to fund
                                                                                                fund it
                                                                                                     it or
                                                                                                        or not
                                                                                                            not so
                                                                                                                so that
                                                                                                                   that
we can properly prepare for administering the plan. As the sole director only he can authorize, hence the
question.
                                                                            conversations we've
Happy to chat live if you want to gain any historical understanding or conversations        we've had
                                                                                                   had inin the
                                                                                                            the past
                                                                                                                past
regarding this plan that might be beneficial to know about when engaging Elon. Let me know - Nate this may    -




be something you and IIdiscuss
                           discuss live
                                    live so
                                         so you
                                            you get
                                                get the
                                                    the full
                                                        full understanding.
                                                             understanding. Let
                                                                            Let me
                                                                                 me know
                                                                                     know ifif you
                                                                                               you want
                                                                                                   want toto do
                                                                                                             do that
                                                                                                                 that and
                                                                                                                      and
you can send me your mobile number to call.
regards,
Mark


Mark Schobinger II
                 Head of Compensation




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Update on FY22 PBP Funding (Non-Exec)




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• Funding for the general population's PBP plan is comprised of top-line and profitability measures
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  — Top-line: GAAP Revenue
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  — Profitability: Adjusted EBITDA12
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• 100% funding if targets are achieved, with the potential for up to 200% funding for outperforming targets
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• Company minimum of 50% funding if we underperform
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• Employee payout varies depending on individual performance
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  — No outsized individual payments: individual payments under the plan are capped at 2X their individual target
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• Estimate funding at 50% based on current trajectory4
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                                                                                                                                           50%                   100%              200%
                                        Performance                                                                                      Minimum                 Target           Maximum       Estimated




                                                                                                                                                                                            E
                                          Metrics                                                          Weighting                     Funding                Funding           Funding       Funding4




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         GAAP
         GAAP Revenue
              Revenue
            Yo Y%3                                                                                             50%
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         Percent
         Percent of
                 of Target
                    Target
         Adjusted EBITDA ex PBP1,2
         Adjusted EBITDA Margin (before PBP)                                                                   50%
         Percent of Target
        Excludes stock-based compensation, amortization, depreciation, acquisitions (except for small deals such as acqui-hire), restructuring and extraordinary charges
      2 Cash expenses adjusted for changes in cost of revenue to calculate
        YoY revenue growth excludes MoPub and MoPub Acquire
      4 Funding based on results as of 8/31/2022




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                                Case 3:23-cv-03007-VC        Document 84-12       Filed 09/16/24   Page 4 of 5




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    FY22 PBP GAAP Revenue Funding Curve



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     FY22 GAAP Revenue' Curve for General Population:
     •   100% target payout if Revenue is at target of1=(=          YoY growth)
     •   Achievement increases and decreases linearly or change in Revenue
       - Floor: 50% target payout <=             I     YoY growth)
       — Ceiling: 200% target payout >=                  YoY growth)
     •   Payout spreads: 25% of target (50% to 200 0 payout)


                     GAAP Rt          (Company POP)




                                                                   Rev   ,
' YoY revenue growth excludes MoPub and MoPub Acquire
                                                                                                                           31
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                                                   Case 3:23-cv-03007-VC                                         Document 84-12                     Filed 09/16/24                          Page 5 of 5




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       FY22 PBP Adj. EBITDA132 Funding Curve
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      FY22 EBITDA excluding PBP Curve for General Population:




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      •   100% target payout if EBITDA excludin PBP at target




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      •   Payout potential based on relatively flat      to




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                                                                                 with same downside and upside slope
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          Achievement increases and decreases linearly for change in EBITDA excluding PBP




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        - Floor: 50% target payout <=
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        - Ceiling: 200% target payout >=
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      •   Adjusted EBITDA excl. PBP assumes
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                                                    of cost of revenue for every .of incremental revenue
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                               EITDA Excr
                      Adjusted EBIT0A Excl, PBP (Company
                                                (Company PBP




                                                                                                            Adjuster;         T    '


I Excludes stock-based compensation, amortization, depreciation, acquisitions (except for small deals such as acqui-hire), restructuring and extraordinary charges
2 Cash expenses adjusted for changes in cost of revenue to calculate
                                                                                                                                                                                                                      32
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